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Approved: Moen

EMILY DEININGER
Assistant United States Attorney

Before: THE HONORABLE LISA MARGARET SMITH
United States Magistrate Judge
Southern District of New York

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UNITED STATES OF AMERICA : SEALED COMPLAINT Imag SOGQ
-V.- : Violations of
18 U.S.C. §§ 922(a) (4),
TARAS HANKEWYCZ, ; 922(0) (1) & 2; 26 U.S.C. §§
a/k/a “TJ,” 5861(d) & {i)
Defendant. COUNTY OF OFFENSE:
WESTCHESTER
- _ _ -_ - - -~ — —_ —_ —_ —_ —_ —_ — — =— — x

SOUTHERN DISTRICT OF NEW YORK, 88.:

RONALD HANSEN, being duly sworn, deposes and says that he is a
Special Agent with Homeland Security Investigations (“HSI”), and
charges as follows:

COUNT ONE

1, In or about March 2019, in the Southern District of New
York, TARAS HANKEWYCZ, a/k/a “TJ,” the defendant, not being a
licensed importer, manufacturer, dealer, or any collector of
firearms within the meaning of Chapter 44, Title 18, United States
Code, knowingly transported in interstate and foreign commerce a
machinegun, as defined in Title 26, United States Code, Section
5845, to wit, a full automatic conversion part, without the
specific authorization of the Attorney General.

(Title 18, United States Code, Sections 922(a) (4) and 2.)
COUNT TWO
2. On or about March 11, 2019, in the Southern District of
New York, TARAS HANKEWYCZ, a/k/a “TJ,” the defendant, did knowingly

possess a machinegun, as defined in Title 26, United States Code,
Section 5845, to wit, a full automatic conversion part.

 
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(Title 18, United States Code, Section 922(o0)(1).)
COUNT THREE

3. On or about March 11, 20619, in the Southern District of
New York, TARAS HANKEWYCZ, a/k/a “TJ,” the defendant, did knowingly
possess a firearm, as defined in Title 26, United States Code,
Section 5845 and Title 18, United States Code, Section 921, to wit,
five firearms silencers, which were not registered to him in the
National Firearms Registration and Transfer Record.

{Title 26, United States Code, Section 5861(d).)
COUNT FOUR

4. On or about March 11, 2019, in the Southern District of
New York, TARAS HANKEWYCZ, a/k/a “TJ,” the defendant, did knowingly
possess a firearm, as defined in Title 26, United States Code,
Section 5845 and Title 18, United States Code, Section 921, to wit,
five firearms silencers, which were not identified by a serial _
number as required by Title 26, United States Code, Section 5842.

(Title 26, United States Code, Section 5861(i).)

The bases for my knowledge and for the foregoing charges
are, in part, as follows:

5. I am a Special Agent with HSI and I have been personally
involved in the investigation of this matter. This affidavit is
based upon that experience, my conversations with other law
enforcement officers and others, and my examination of reports and
records. Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all the
facts that I have learned during the course of my investigation.
Where the contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported in
Substance and in part, except where otherwise indicated.

6. Based on my review of U.S. Customs and Border Protection
(“CBP”) reports, I have learned, among other things, the following:

a. Since in or about February 2019, CBP, along with
HSI, the Bureau of Alcohol, Tobacco, and Firearms (“ATF”), and the
U.S. Postal Inspection Service (“USPIS”), has been investigating

the importation of machineguns through international mail
facilities. The investigation has focused on the importation of
full automatic conversion parts, also known as “switches,” from
China, which are designed solely and exclusively for use in

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modifying certain firearms - typically Glock handguns - into
machineguns. Glock, Inc. has informed the CBP that it does not
manufacture, authorize, or endorse these switches.

b. As part of this ongoing investigation, several
entities known to have shipped switches from China to the United
States have been identified.

Cc. On or about February 28, 2019, a package (the
“Target Package”) was identified by an officer with CBP at the HSI
Los Angeles International Mail Facility as suspicious because it
had been shipped by one of those entities from China. The CBP
officer opened the Target Package and found that it contained a
full automatic conversion part, falsely identified as having being
manufactured by Glock in Austria (the “Glock Switch’).

d. The Target Package was addressed to a “TJ Hankewycz2”
at 53 Cassilis Avenue, Bronxville, New York (the “Hankewycz
Residence”).

e. The return address on the Target Package was located
in the Nanyang prefecture of the Henan province in China.

7. Based on my training, experience, and conversations with
law enforcement agents with the ATF, I know that the Glock Switch
qualifies as a “machinegun” under the National Firearms Act, Title
26, United States Code, Section 5845(b}.

8. Based on my participation in this investigation, I know
that, on or about March 11, 2019, the Honorable Lisa Margaret
Smith, United States Magistrate Judge, Southern District of New
York, authorized an anticipatory search warrant {the “Search
Warrant”) for the Hankewycz Residence. The search warrant was
authorized to be executed if an adult was observed collecting the
Target Package and bringing it into the Hankewycz Residence after
the Target Package was placed in the mailbox of the Hankewycz
Residence.

9. Based on my participation in physical surveillance and
the execution of the Search Warrant at the Hankewycz Residence on +
or about March 11, 2019, I know the following:

a. On or about March 11, 2019, at approximately 3:40
p.m., an adult male who was later identified as TARAS HANKEWYCZ,
a/k/a “TJ,” the defendant, was observed collecting the Target
Package from the mailbox of the Hankewycz Residence and bringing
the Target Package into the Hankewycz Residence.

 
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b. Shortly thereafter, at approximately 3:50 p.m.,
HANKEWYCZ was observed exiting the rear of the Hankewycz Residence
and entering a car (the “Hankewycz Car”).

om I and other law enforcement agents then approached
the Hankewycz Car and made contact with HANKEWYCZ. HANKEWYC2Z
agreed that he was willing to speak to us, exited the Hankewycz
Car, and reentered the Hankewycz Residence accompanied by myself
and approximately five other law enforcement agents.

d. Inside the Hankewycz Residence, HANKEWYCZ stated, in
sum and substance, the following:

i. The Glock Switch was located in the
Hankewycz Car. HANKEWYCZ agreed that a law enforcement agent
could search the Hankewycz Car to recover the Glock Switch, and
stated that the Glock Switch was located in a compartment in the
Hankewycez Car’s front console.

ii. HANKEWYC4 had purchased the Glock Switch a
few weeks earlier through an application on his cellphone known
as “Wish” that was linked to the website Wish.com.

iii. HANKEWYCZ referred to the Glock Switch as a
“switch.”

iv. HANKEWYCZ acknowledged that the Glock Switch
was a part designed to be used with a pistol, although he stated
that he believed the Glock Switch was a flat piece of metal that
would be installed on the back of a pistol’s slide.

Vv. HANKEWYCZ showed me, on his cellphone and
using the Wish application, his order history for the Glock
Switch, which included a picture of the Glock Switch. That
picture depicted the Glock Switch as a small cubic black device,
with one or more protruding pieces, matching the Glock Switch’s
actual appearance.

e. An HSI Special Agent recovered the Glock Switch from
a compartment in the front console of the Hankewycz Car. The
Target Package that had contained the Glock Switch was recovered
from the pocket in the driver’s seat door of the Hankewycz Car.

£. After the agents recovered the Glock Switch and
Target Package, HANKEWYCZ told the agents, in substance and in
part, that he believed the Target Package had been shipped from
China because everything ordered from Wish generally came from
China.

 
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g. I and other law enforcement agents then executed the
Search Warrant at the Hankewycz Residence. During the search, the
following items, among others, were found:

i. Four Ml Carbine rifles, one SKS-style rifle,
two Mossberg 500A shotguns, and one Remington shotgun, all of
which were found in a firearm safe in the attic. The SkS-style
rifle was equipped with a bayonet and a grenade launcher muzzle
device.

ii. Two unfinished pistol frames, a Glock-
compatible pistol barrel, and two Glock parts kits, all of which
were found in the basement.

iii. One Olympic Arms .223 caliber rifle, one
Savage Arms .223 caliber rifle, and one AR .223 caliber lower
receiver, all of which were found in a crawl space under the
basement stairs.

iv. Seven suspected firearms silencers.

v. Six 30-round high capacity magazines for an
AR rifle, three high capacity magazines for a .22 caliber AR
firearm, and one high capacity magazine for an unknown firearm.

10. Based on my experience, training, and conversations
with law enforcement agents with the ATF, I know that the pistol
frames, Glock-compatible pistol barrel, and Glock parts kits
found in the basement of the Hankewycz Residence can be used to
build an operable pistol.

11. Based on my conversations with a Special Agent with
the ATF, I know that:

a. Five of the seven suspected firearms silencers
found at the Hankewycz Residence have been determined, based on
lab testing and analysis conducted by the ATF, to be firearms
silencers.

b. Those firearms silencers are not identified by
serial numbers.

Cc. TARAS HANKEWYCZ, a/k/a “TJ,” the defendant, does
not have any firearms, including firearms silencers, registered
to him in the National Firearms Registration and Transfer
Record.

 
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WHEREFORE, deponent respectfully requests that TARAS
HANKEWYCZ, a/k/a “TJ,” the defendant, be arrested and imprisoned or
bailed, as the case may be.

SPECfAL AGENT RONALD HANSEN
Homeland Security Investigations

        

UNITED STATES RATE JUDGE

 
